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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                               No. 15-219V
                                           Filed: July 18, 2016

* * * * * * *                *    *   *   **  *           UNPUBLISHED
TATE TAKAHASHI,                            *
                                           *
                     Petitioner,           *              Special Master Gowen
                                           *
v.                                         *              Joint Stipulation on Damages;
                                           *              Influenza (“Flu”) Vaccine;
SECRETARY OF HEALTH                        *              Transverse Myelitis
AND HUMAN SERVICES,                        *
                                           *
                     Respondent.           *
                                           *
* * * * * * * * * * * * *
Diana S. Sedar, Maglio Christopher & Toale, PA, Sarasota, FL, for petitioner.
Ryan D. Pyles, United States Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

        On March 4, 2015, Tate Takahashi (“petitioner”) filed a petition pursuant to the National
Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to 34 (2012). Petitioner alleged
that he developed transverse myelitis as a result of receiving an influenza (“flu”) vaccine on
October 17, 2013, and that he suffered the residual effects of this injury for more than six
months. Stipulation at ¶¶ 1, 2, 4.

        On July 18, 2016, the parties filed a stipulation in which they state that a decision should
be entered awarding compensation. Respondent denies that the flu immunization is the cause of
petitioner’s alleged transverse myelitis and/or any other injury. Stipulation at ¶ 6. Nevertheless,

1
 Because this decision contains a reasoned explanation for the undersigned’s action in this case, the
undersigned intends to post this ruling on the website of the United States Court of Federal Claims, in
accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services). As provided by Vaccine Rule 18(b), each party has 14
days within which to request redaction “of any information furnished by that party: (1) that is a trade
secret or commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b).

2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood
Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§
300aa-1 to -34 (2012) (Vaccine Act or the Act). All citations in this decision to individual sections of the
Vaccine Act are to 42 U.S.C.A. § 300aa.
                                                     1
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the parties agree to the joint stipulation, attached hereto as Appendix A. The undersigned finds
the stipulation reasonable and adopts it as the decision of the Court in awarding damages, on the
terms set forth therein.

        The parties stipulate that petitioner shall receive the following in compensation:

    a. A lump sum of $4,584.57, which amount represents reimbursement of a State of
       Hawaii Medicaid lien, in the form of a check payable jointly to petitioner and

                                       Department of Human Services
                                       Department of Attorney General
                                          Civil Recoveries Division
                                              425 Queen Street
                                            Honolulu, HI 96813

        Petitioner agrees to endorse this payment to the State; and

    b. A lump sum of $300,000.00 in the form of a check payable to petitioner. This
       amount represents compensation for remaining damages that would be available
       under 42 U.S.C. § 300aa-15(a).

        Id. at ¶ 8.

        The undersigned approves the requested amount for petitioner’s compensation.
Accordingly, the clerk of the court SHALL ENTER JUDGMENT in accordance with the terms
of the parties’ stipulation.3

        IT IS SO ORDERED.

                                                          s/Thomas L. Gowen
                                                          Thomas L. Gowen
                                                          Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of notice
renouncing the right to seek review.
                                                     2
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